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                        EXHIBIT C
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                  MDL 1570 PLAINTIFFS' EXECUTIVE COMMITTEES
                        In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)

   Plaintiffs' Executive Committee for Personal                Plaintiffs' Executive Committee for
             Injury and Death Claims                                   Commercial Claims
 Ronald L. Motley (1944-2013)                             Stephen A. Cozen, Co-Chair
 Jodi Westbrook Flowers / Donald A. Migliori, Co-Chairs   Sean Carter, Co-Chair
 MOTLEY RICE LLC                                          COZEN O'CONNOR
 James P. Kreindler, Co-Chair
 KREINDLER & KREINDLER LLP

 Andrew J. Maloney III, Co-Liaison Counsel                J. Scott Tarbutton, Liaison Counsel
 KREINDLER & KREINDLER LLP                                COZEN O'CONNOR
 Robert T. Haefele, Co-Liaison Counsel
 MOTLEY RICE LLC
                                             VIA ELECTRONIC MAIL
October 23, 2018

Michael K. Kellogg, Esq.
Kellogg, Hansen, Todd, Figel & Frederick PLLC
1615 M Street N.W., Suite 400
Washington, DC 20036

        Re:      In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Michael:

       In advance of our scheduled meet and confer, the Plaintiffs' Executive Committees offer
this written notice to the Kingdom of Saudi Arabia ("Saudi Arabia") that Plaintiffs object to
Saudi Arabia's confidentiality designations as to the documents listed on Exhibit A, attached
hereto, and request that the Kingdom withdraw its designations as to the identified documents
and/or consent to the filing of those documents in the public court docket. We anticipate
discussing the designation of these documents during our meet and confer.

         This list includes discovery documents that we anticipate filing with various motions,
including with our letter on supplemental document discovery and the motion to compel. To be
clear, the attached list identifies only a portion of the 3,320 pages that Saudi Arabia has
designated as confidential. We anticipate adding more documents to this request as we proceed
with our review of the documents Saudi Arabia has produced, and reserve the right to object to
other documents that Saudi Arabia has so designated.

       Plaintiffs object to the designations listed on Exhibit A because Saudi Arabia has made
no showing that these designations meet the standards articulated in Rule 26 of the Federal Rules
of Civil Procedure or any applicable case law warranting the confidentiality designation the
Court authorized in the Umbrella Order, or that would support the denial of access to any such
documents filed in support of submissions to the Court. Moreover, after translation and
individual analysis of each of the identified documents, the Plaintiffs remain unable to identify
any reason to warrant the designation, much less any rationale that would support a requirement
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that any such documents be filed under seal in relation to disputes brought to the Court for
resolution.

Sincerely,

COZEN O'CONNOR                                    MOTLEY RICE LLC

By: /s/ Sean P. Carter                            By: /s/ Robert T Haefele
    SEAN P. CARTER                                    ROBERT T. HAEFELE
    For the Plaintiffs' Exec. Committees              For the Plaintiffs' Exec. Committees


KREINDLER & KREINDLER LLP

By:Is!James P. Kreindler
    JAMES P. KREINDLER
    For the Plaintiffs' Exec. Committees


cc:      Members of Plaintiffs' Executive Committees (via Email)
         Mark C. Hansen, Esq. (via Email)
         Gregory G. Rapawy, Esq. (via Email)
         Andrew C. Shen, Esq. (via Email)




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October 23, 2018
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                                Exhibit A

KSA000550-614              KSA001298-1299           KSA004294
KSA000696                  KSA001301                KSA004642-4754
KSA000724-726              KSA001302                KSA005872-5892
KSA000734-737              KSA001305-1313           KSA005998-5999
KSA000740                  KSA001318-1325           KSA006459-6464
KSA000792                  KSA001329                KSA006641-6643
KSA000840                  KSA001333                KSA006666-6668
KSA000852                  KSA001334                KSA006670-6673
KSA000854                  KSA001342                KSA006812
KSA000856                  KSA001345-1346           KSA006860-6864
KSA000883                  KSA001348-1349
KSA000897                  KSA001613-1616
KSA000898                  KSA001618-1619
KSA000903                  KSA001623
KSA000905-906              KSA001625
KSA000976                  KSA001630-1632
KSA000995                  KSA001710-1713
KSA001168-1173             KSA001716
KSA001193                  KSA001774-1777
KSA001197                  KSA001822-1823
KSA001194-1201             KSA001825-1832
KSA001204-1206             KSA001834-1841
KSA001207                  KSA002333-2358
KSA001210-1212             KSA002584-2594
KSA001213                  KSA002605-2613
KSA001214-1218             KSA002614
KSA001219                  KSA002627-2630
KSA001220-1227             KSA002660-2666
KSA001228                  KSA002669
KSA001229-1240             KSA002670-2671
KSA001241                  KSA002676
KSA001243-1252             KSA002677-2693
KSA001253                  KSA002678
KSA001254                  KSA002686
KSA001255                  KSA002691-2692
KSA001256-1273             KSA002693
KSA001274-1275             KSA002829-2844
KSA001276                  KSA002845-2846
KSA001277                  KSA002847-2850
KSA001278-1286             KSA002851
KSA001287-1288             KSA002852-2855
KSA001289-1294             KSA002862-2869
